Case 1:15-cv-00627-JTN-ESC ECF No. 21, PageID.199 Filed 02/04/16 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION




 MICHAEL BARNHART,

       Plaintiff,                                     Case No. 1:53-cv-627

 v                                                    HON. JANET T. NEFF

 NATIONSTAR MORTGAGE, LLC,
 et al.,

       Defendants.
 _______________________________/


                                       JUDGMENT

      In accordance with the Opinion and Order entered this date:

      IT IS HEREBY ORDERED that Plaintiff’s Complaint is DISMISSED with prejudice.



                4 2016
Date: February ___,                                /s/ Janet T. Neff
                                                  JANET T. NEFF
                                                  United States District Judge
